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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
      information associated with Kik username “bgillie08”;                 )      Matter No.: 2022R00300
                (fully described in Attachment A)                           )
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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                   District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A, over which this Court has jurisdiction pursuant to 18 U.S.C. §§ 2703 and 2711 and Federal Rule of Criminal
  Procedure 41.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




              YOU ARE COMMANDED to execute this warrant on or before September 2, 2022                (not to exceed 14 days)
              6HSWHPEHU
       u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                                u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the
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                                                                                at                                                     .


           Date and time issued: @ 4:19 p.m.
                                                                                                          JJudge’s
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City and state:             Milwaukee, WI                                             Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:22-mj-00967-NJ Filed 08/18/22 Page 1 of 27 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                             Case 2:22-mj-00967-NJ Filed 08/18/22 Page 2 of 27 Document 1
                                     ATTACHMENT A
                                  Property to Be Searched
       This warrant applies to information associated with Kik username “bgillie08” that is

stored at premises owned, maintained, controlled, or operated by MediaLab, Inc., a company

headquartered at 1237 7th St., Santa Monica, CA 90401.




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                                       ATTACHMENT B
                                 Particular Things to be Seized
I.         Information to be disclosed by MediaLab, Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of MediaLab, Inc., regardless of whether such information is located within

or outside of the United States, and including any messages, records, files, logs, or information

that have been deleted but are still available to MediaLab, Inc., or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), MediaLab, Inc is required to disclose the following

information to the government for the account listed in Attachment A from May 1, 2022 to

present:

     1. All subscriber/account information, including:

            a. Subscriber data, unrestricted by date, associated to the Kik account

            b. Current first and last name

            c. Email address

            d. Phone number

            e. Link to the most current profile picture

            f. Device related information

            g. Account creation date and Kik version

            h. Birthdate and email address used to register the account

            i. User location information

     2. IP addresses associated to the Kik account, including remote port information

     3. All chat logs associated to the Kik account

     4. All messages sent from the Kik account to any other Kik users




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   5. All images and videos associated to the Kik account (to include images taken using the

       Kik app’s camera, shared with the user’s friends, or in a group chat or individual chat),

       including the unknown usernames and IP address associated to the sender of the images

       and videos and metadata associated with such images or videos

   6. All other records of communications and messages made or received by the user

   7. All activity logs for the account and all other documents showing the user’s posts, chats,

       and other activities on Kik

   8. A complete list of the identified Kik account’s contact list and chat partners, deleted and

       undeleted

   9. A date-stamped log showing the usernames that the Kik account added and/or blocked

   10. All Kik chat groups in which the identified account is a member

   11. All user-typed messages, audio notes, and video notes to friends within the Kik app using

       the chat feature

   12. All user saved messages

   13. All records of Kik searches performed by the account

   14. All device-level location services maintained by Kik

   15. The types of service utilized by the user

   16. All abuse reports associated to the Kik account, including the unknown usernames

   17. All emails associated to the Kik account

       The Provider is hereby ordered to disclose the above information to the government

within 14 days of issuance of this warrant.




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II.         Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C.§ 2252A(a)(1) - transportation of child pornography,

and 18 U.S.C. § 2252A(a)(5)(B) - possession of child pornography involving the user of Kik

account bgillie08 since May 1, 2022, including, for each account or identifier listed on

Attachment A, information pertaining to the following matters:

       1.      Any information and or images/videos which visually depict child pornography or

child erotica; display or access information pertaining to a sexual interest in child pornography;

display or access information pertaining to sexual activity with children; or distribute, possess, or

receive child pornography, child erotica, or information pertaining to an interest in child

pornography or child erotica.

       2.      The identity of the person who created or used the user ID, including records that

help reveal the whereabouts of such person.

       3.      The identity of the person(s) who communicated with the user ID about matters

relating to sexual exploitation of children, the distribution or receipt of child pornography, or the

possession of child pornography, including records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the




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disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN

 IN THE MATTER OF THE SEARCH OF  Case No. ____________________
 INFORMATION ASSOCIATED WITH THE
 KIK ACCOUNT "bgillie08” THAT IS
 STORED AT PREMISES CONTROLLED
 BY MEDIALAB, INC., A COMPANY
 HEADQUARTERED AT 1222 6TH ST.,
 SANTA MONICA, CA 90401.



                           AFFIDAVIT IN SUPPORT OF AN
                       APPLICATION FOR A SEARCH WARRANT
       I, Daniel Gartland, being first duly sworn, hereby depose and state as follows:
                     INTRODUCTION AND AGENT BACKGROUND
       1.      I make this affidavit in support of an application for a search warrant for

information associated with certain accounts that is stored at premises owned, maintained,

controlled, or operated by MediaLab, Inc., an electronic communications service provider

headquartered at 1222 6th St., Santa Monica, CA 90401. The information to be searched is

described in the following paragraphs and in Attachment A. This affidavit is made in support of

an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A)

to require MediaLab, Inc. to disclose to the government records and other information in its

possession pertaining to the subscriber or customer associated with the accounts, including the

contents of communications.

       2.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI) and have

been so employed since May 2018. As such, I am a "federal law enforcement officer" within the

meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged

in enforcing the criminal laws and duly authorized by the Attorney General to request search and

arrest warrants. I am currently assigned to the FBI Milwaukee Division and am a member of the


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Milwaukee Child Exploitation and Human Trafficking Task Force. I am authorized to investigate

violent crimes against children, to include the possession, production, and distribution of child

sexual abuse material (commonly known as “CSAM”).

       3.      Through my training and experience, I have participated in the execution of search

warrants for documents and other evidence, including computers and electronic media, in cases

involving crimes the FBI is authorized to investigate. Moreover, I am a federal law enforcement

officer who is engaged in enforcing the criminal laws, including 18 U.S.C. §§ 2252 and 2252A,

and I am authorized by the Attorney General to request a search warrant.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all my knowledge about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 2252A(a)(1), which makes it a crime to

transport child pornography, and 18 U.S.C. § 2252A(a)(5)(B), which makes it a crime to possess

child pornography, the “subject offenses.” There is also probable cause to search the information

described in Attachment A for evidence, instrumentalities, contraband, and/or fruits of these

crimes further described in Attachment B.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b) (1) (A), & (c)

(1) (A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3) (A) (i).


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                                     DEFINITIONS

7. The following definitions apply to this Affidavit and Attachment B:

       a. “Chat,” as used herein, refers to any kind of text communication over the Internet

           that is transmitted in real-time from sender to receiver. Chat messages are generally

           short in order to enable other participants to respond quickly and in a format that

           resembles an oral conversation. This feature distinguishes chatting from other text-

           based online communications such as Internet forums and email.

       b. “Child erotica,” as used herein, means materials or items that are sexually arousing

           to persons having a sexual interest in minors but that are not necessarily obscene or

           do not necessarily depict minors engaging in sexually explicit conduct.

       c. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual depiction,

           including any photograph, film, video, picture, or computer or computer-generated

           image or picture, whether made or produced by electronic, mechanical or other

           means, of sexually explicit conduct, where (a) the production of the visual depiction

           involved the use of a minor engaged in sexually explicit conduct, (b) the visual

           depiction is a digital image, computer image, or computer-generated image that is,

           or is indistinguishable from, that of a minor engaged in sexually explicit conduct,

           or (c) the visual depiction has been created, adapted, or modified to appear that an

           identifiable minor is engaged in sexually explicit conduct.

       d. “Hashtag,” as used herein, refers to a word or phrase preceded by a hash or pound

           sign (#), which is used to identify messages or groups on a specific topic.

       e. A “hash value” is a unique multi-character number that is associated with a

           computer file. Some computer scientists compare a hash value to an electronic



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    fingerprint in that each file has a unique hash value. Any identical copy of the file

    will have exactly the same hash value as the original, but any alteration of the file,

    including even a change of one or two pixels, would result in a different hash value.

    Hash values represent large amounts of data as much smaller numeric values, so

    they are used with digital signatures.

 f. “Internet Service Providers” (“ISPs”), as used herein, are commercial organizations

    that are in business to provide individuals and businesses access to the Internet.

    ISPs provide a range of functions for their customers including access to the

    Internet, web hosting, email, remote storage, and co-location of computers and

    other communications equipment.

 g. An “Internet Protocol address” or “IP address,” as used herein, refers to a unique

    numeric or alphanumeric string used by a computer or other digital device to access

    the Internet. Every computer or device accessing the Internet must be assigned an

    IP address so that Internet traffic sent from and directed to that computer or device

    may be directed properly from its source to its destination. Most Internet Service

    Providers (“ISPs”) control a range of IP addresses. IP addresses can be “dynamic,”

    meaning that the ISP assigns a different unique number to a computer or device

    every time it accesses the Internet. IP addresses might also be “static,” if an ISP

    assigns a user’s computer a particular IP address that is used each time the computer

    accesses the Internet. ISPs typically maintain logs of the subscribers to whom IP

    addresses are assigned on particular dates and times.

 h. The “Internet” is a global network of computers and other electronic devices that

    communicate with each other. Due to the structure of the Internet, connections



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    between devices on the Internet often cross state and international borders, even

    when the devices communicating with each other are in the same state.

 i. “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the age of

    eighteen years.

 j. “Mobile application” or “chat application,” as used herein, are small, specialized

    programs downloaded onto mobile devices, computers and other digital devices

    that enable users to perform a variety of functions, including engaging in online

    chat and sending or receiving images and videos.

 k. “Remote computing service,” as defined in 18 U.S.C. § 2711(2), is the provision to

    the public of computer storage or processing services by means of an electronic

    communications system.

 l. “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means actual or

    simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-

    genital, or oral-anal, whether between persons of the same or opposite sex; (b)

    bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious

    exhibition of the anus, genitals, or pubic area of any person.

 m. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes undeveloped film

    and videotape, data stored on computer disc or other electronic means which is

    capable of conversion into a visual image, and data which is capable of conversion

    into a visual image that has been transmitted by any means, whether or not stored

    in a permanent format.




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                     KIK MESSENGER APPLICATION INFORMATION

        8.      The following information comes from materials published by Kik, online research

that I have conducted, from other law enforcement officers, as well as my training and experience.

Kik Messenger, commonly called Kik, is an instant messaging mobile application (“app”) from

the Canadian company Kik Interactive, and available free of charge on iOS and Android operating

systems. It is a social networking app that permits a user to trade and disseminate various forms

of digital media while using a mobile device. Kik advertised itself as “the first smartphone

messenger with a built-in browser.” Kik was founded in 2009 and according to its company

website was designed to “break down barriers [between operating systems] that would allow users

to chat with whoever, whenever.” In October 2019, Kik Interactive was purchased by Santa

Monica, California based MediaLab Inc.

        9.      Kik Messenger is a feature within Kik that allows its users to communicate with

selected persons as well as browse and share any website content with those whom the user selects

while still within the Kik platform. Unlike some other messaging apps, Kik usernames—not phone

numbers—are the basis for Kik user accounts. Kik usernames are unique; can never be replicated;

can never be changed, may include lower and uppercase letters, numbers, periods, and

underscores; and will never contain spaces, emoticons or special characters. MediaLab Inc. can

use a Kik username to identify a Kik account to law enforcement.

        10.     Kik also allows users to exchange images, videos, sketches, stickers and even web

page content by posting such content privately with individual users or publicly (on the Kik

platform) with multiple individuals who belong to “Groups.” Groups can hold up to 50 Kik users

and are oftentimes created to discuss topics such as modern popular culture-themed ideas, as well

as illicit/illegal-themed ideas.


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       11.      Kik advises that upon service of a search warrant, the company can provide the

information requested in Attachment B, including: first and last name and email address provided

by the user; link to the most current profile picture or background photo; device-related

information; account creation date and Kik version; birthdate and email address used to register

the account; user location information; the transactional chat log; the chat platform log;

photographs and videos sent or received by the user for the last 30 days; the roster log; abuse

reports; email events; and registration IP address associated to the username when the account was

registered, including timestamp. Kik can also provide information associated with Kik groups,

including group information log; group create log; group join and leave logs; group transactional

chat log; group chat platform log; photographs and videos received by the group; and group abuse

reports.

       12.      Based on my training and experience, I know Kik is often used for illegal purposes,

including the receipt, distribution, and transportation of child pornography, because of the high

degree of anonymity that is afforded to the user during the use of the Kik application.

       IDENTIFICATION AND INVESTIGATION OF THE SUBJECT ACCOUNT

       1.       On May 9, 2022, the National Center for Missing and Endangered Children

(NCMEC) received information from Dropbox, Inc. (Dropbox) that suspected Child Sexual Abuse

Material (CSAM) was uploaded to the Dropbox account belonging to user Brandon Gilmore. The

following user information was provided:

             a. Email address: thememuzickent@gmail.com

             b. Screen/username: Brandon Gilmore

       2.       Dropbox provided six videos uploaded to the account associated with user Brandon

Gilmore. NCMEC provided the information to the Federal Bureau of Investigation for further

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action. The first video showed a female removing her clothes and touching her vagina. The video

then showed an adult male touch her vagina and engaged in vaginal and anal sex with the female.

The female appeared to be in the early stages of puberty with minor breast development and some

pubic hair. The second video showed adult male engaged in vaginal sex with a minor female. The

female appeared to be pre-pubescent, lacking pubic hair and breast development. The third video

showed an adult male engaged in oral sex with a minor female. The female wore a blindfold over

her eyes. The words, “suck cock cum slut” were written on the blindfold. The female had facial

features consistent with a pre-pubescent child. The fourth video showed a close-up view of an

adult male engaged in vaginal sex with a pre-pubescent female, lacking pubic hair. The fifth video

depicted an adult male laying on a bed while two unclothed females removed his pants and touched

his penis and testicles. The females appeared to be pre-pubescent, lacking breast development and

pubic hair. The sixth video showed a female sitting on a chair with her pants pulled down. An adult

male then lifted her legs displaying her anus and vagina. The video then showed the male spreading

open the minor female’s vagina. The female appeared to be pre-pubescent, lacking breast

development and pubic hair. The female also wore a t-shirt with a cartoon drawing of a smiling

sun. An upload log provided by Dropbox indicated the videos were uploaded on or about May 7,

2022.

        3.      On June 6, 2022, Dropbox provided information in response to a subpoena

requesting user account information and IP addresses associated with the Dropbox user Brandon

Gilmore. The information revealed that the account was accessed by IP address

2600:1700:9434:6190:40dd:39d3:ced6:f56e on May 7, 2022.

        4.      Further     investigation      determined       that      the      IP      address

2600:1700:9434:6190:40dd:39d3:ced6:f56e was assigned to an AT&T account with the following



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subscriber information:

                    i. Account Number: 314010876

                   ii. Subscriber Name: Brianna Roeck

                  iii. Account Creation: 06/11/2021

                  iv. Service Address: 3640 South 87th Street, Milwaukee, WI, 53228

       5.       A search of law enforcement databases revealed that in June of 2021 Brandon

Gilmore (XX/XX/1989) was involved in a vehicular accident in Milwaukee, WI, while driving a

black Chevrolet Equinox bearing Wisconsin registration plate ACS-3373 (hereinafter “Equinox”).

The registered owner of the Equinox was Brianna Roeck. Gilmore also owns a blue 2004 Chevrolet

Impala registered with the state of Wisconsin at the address 3640 South 87th Street, Milwaukee,

WI.

       6.       On July 25, 2022, Special Agents with the Federal Bureau of Investigation (FBI)

observed Brianna Roeck arrive at 3640 South 87th Street, Milwaukee, WI, driving the Equinox.

Agents observed Gilmore leave the address and return while driving the Equinox. Agents also

observed a blue Impala without visible plate parked at the address.

       7.       An open-source search of Facebook revealed a profile with the name, “Brianna

Röck.” The profile includes references to the “Gilmore’s” and includes photos that appear to show

Brianna Roeck and Brandon Gilmore together. The profile also contains references to Brynlee

Gilmore, a baby born in early-October 2021 and photos of two other female children. Based upon

the information in the Facebook profile, I believe Brianna Roeck and Brandon Gilmore are in a

relationship.

       8.       A search of law enforcement databases revealed that Brandon Gilmore is a

registered sex offender and resides at the address 3640 South 87th Street, Milwaukee, WI. On July



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23, 2013, Gilmore was arrested by the FBI in Minneapolis, MN for a violation of Title 18 U.S.C.

§ 2423 (d) and (e) Conspiracy to Facilitate in Transportation of Minors for Prostitution. The arrest

was the result of an investigation into Gilmore and two other females for the transportation of a

14-year-old female from Milwaukee, WI to Bloomington, MN for the purpose of engaging in

prostitution. Gilmore plead guilty to the charge and was sentenced to 82 months in federal prison

and 60 months of supervised release. Gilmore remained on supervision with the United States

Probation Office for the Eastern District of Wisconsin as of July 26, 2022 and was due to complete

his supervision on August 13, 2024.

       9.      On July 27, 2022, a search warrant, issued in the United States District Court for

the Eastern District of Wisconsin on July 27, 2022, was executed by the FBI at 3640 South 87th

Street, Milwaukee, WI. During the search, law enforcement officers seized as evidence an Apple

iPhone 13 with serial number: DPQ00N306, (hereinafter, “the Phone”) from the location. Pursuant

to the search warrant, a forensic examination of the phone. The was assigned telephone number

414-708-5314     and    had     an    Apple    ID    associated    with    the   e-mail    address,

thememuzickent@gmail.com.

       10.     The Phone appeared to have an initial power on date of June 26, 2022. The phone

included data from dates prior to the initial power on date. Based on my training and experience,

I believe the user of the phone obtained a new device on or about June 26, 2022, and synced the

Phone with data maintained in on an external cloud-based server.

       11.     The phone contained several social media accounts and associated conversations.

A Facebook profile and Facebook Messenger account on the phone was associated with the

username Charles Palmer with the identification number 10006618555099. A Kik messenger

account with a username of “bgillie08” and the e-mail address, Ovathatop01@gmail.com. The



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Apple wallet for the Phone was associated with “Brandon Gilmore” at the address 4597 North

Houston Avenue, Milwaukee, WI. Law enforcement databases indicate that 4597 North Houston

Avenue, Milwaukee, WI is the address of Tequila Matthews, mother of Brandon Gilmore.

       12.     Investigators conducted a review of Kik messenger conversations recovered from

the telephone. At least two conversations contained discussions of Child Sexual Abuse Material

(CSAM). On July 17, 2022, Kik user “claraoglyta_cb5” (hereinafter, “CB5”) initiated a

conversation with the account associated with the phone. CB5 asked “Are you a buyer of cp mega

link and video?” CB5 further provided an apparent list of the types of CSAM available. Bgillie08

responded “Samples.” A link to at least one video of suspect CSAM was sent to Bgillie08 and a

request for payment was made. On July 25, 2022, Bgillie08 messaged “Samples” to

Claraoglyta_cb5, though the message did not appear to be delivered.

       13.     A Kik conversation between bgillie08 and dirtydaughter101_n1k (hereinafter,

“N1K”) occurred from July 17, 2022 to July 25, 2022. The conversation began with N1K sending

links of known or suspected CSAM to Bgillie08 and a request to “Send me the screenshot baby.”

Bgillie08 responds with a screenshot of a $50 payment via an electronic funds transfer application

to a user named “Malacia Hyche.” Bgillie08 then messages, “Penetration and cum” and “And

anal.” N1K then provided additional videos. Bgillie08 later states, “I’ll send more money when I

have all 50 videos u promised for the 30 I sent.” After receiving a series of videos, Bgillie08 states,

“That’s not cp. That don’t count.” Further videos and requests for money were sent from N1K

until July 19, 2022. On July 25, 2022, the conversation ended with Bgillie08 asking, “Samples?”

       14.     Investigators conducted a review of the images and videos recovered from the

Phone. The phone contained numerous selfie-style images of Brandon Gilmore, including

metadata with a location in the area of 3640 South 87th Street, Milwaukee, WI. The phone



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contained approximately 34 videos of known or suspected CSAM. Five of these videos are further

described as follows:

           x   A close-up video of an infant, approximately less than one year of age, with a white

               fabric background. The child did not appear to have developed lower teeth. The

               child’s bare chest was visible in the video. The child appeared to be Caucasian,

               though hair color and sex of the child could not be determined based upon the view

               of the camera. An erect adult penis was inserted into the child’s mouth during the

               video. The video appeared to have been recovered from applications on the Phone.

           x   A video of a pre-pubescent female, approximately four to eight years of age, laying

               on her back with her legs held up. The female had short dark brown or black hair

               and a light skin tone. The child did not have developed breasts or pubic hair. The

               child’s mannerisms were consistent with a mental handicap. Written on the inner

               thigh of the child’s left leg is the letter “I”, a drawing of a heart and an illegible

               word. The female child was completely naked, and her anus and vagina were clearly

               visible. There was apparent male ejaculate on the child’s legs, vagina and seeping

               from her anus. A white-skinned adult hand with manicured fingernails pointed to

               the ejaculate in the child’s anus. The video appeared to have been recovered from

               applications on the Phone.

           x   A video of a pre-pubescent female, approximately five to nine years of age, visible

               from the mid-torso down. The child was light skinned. Her face and hair were not

               visible in the video. The female was wearing a pink and white striped bathing suit

               with a pink and blue flowers or starfish pattern. The child’s bathing suit was pushed

               to the side and her vagina was partially visible. A white skinned adult male penis


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                 had vaginal sex with the child. The adult male’s right hand was pressed down on

                 the child’s stomach area. The video appeared to have been recovered from

                 applications on the Phone.

             x   A video of a pre-pubescent female, approximately five to nine years of age,

                 standing in front of a white skinned adult male. The female child is light skinned

                 with short brown hair. The female was wearing a white T-shirt and did not appear

                 to be clothed from the waist down. The female did not appear to have developed

                 breasts. The adult male was wearing a white T-shirt pulled up above his belly

                 button. The adult male has the child perform oral sex on him. The adult male had

                 one hand on the child’s shoulder and the other hand manipulated a the zoom on a

                 camera with a remote. The video appeared to have been recovered from

                 applications on the Phone.

             x   A video of a pre-pubescent female, approximately two to six years of age, lying on

                 a carpeted floor. The child was light skinned. The child did not have pubic hair. Her

                 face and hair were not visible in the video. The child appeared to be wearing a green

                 T-shirt, pulled up above her chest. The child’s vagina was clearly visible in the

                 video. A dark-skinned adult male with an erect penis had anal and vaginal sex with

                 the child before ejaculating on the child’s pubic area. The adult male held the child

                 down at various points in the video by gripping the child’s waist. The video

                 appeared to have been recovered from applications on the Phone.

       15.       On July 27, 2022, Brandon Gilmore was interviewed by Special Agents of the FBI

in a non-custodial setting at the FBI Milwaukee Field Office. During the interview, Gilmore stated

that he had a Dropbox account when he was first released from prison. The account was registered


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with the e-mail address thememuzickent@gmail.com. Gilmore maintained a few self-developed

rap songs on the account and had not used it in several years. Gilmore also used the e-mail address

ovathatop01@gmail.com. Gilmore provided the pass code to his phone and stated that he did not

have Dropbox on the phone. He further stated that there was not child pornography on his phone.

Gilmore stated he “was not concerned about child pornography” and “did not watch child

pornography.”

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED


       13.      This warrant is being sought under the Electronic Communications Privacy Act,

in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), to require MediaLab, Inc.

to disclose to the government copies of the records and other information (including the content

of communications) particularly described in Section I of Attachment B. Upon receipt of the

information described in Section I of Attachment B, government-authorized persons will review

that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION


       14.      Based on the forgoing, I request that the Court issue the proposed search warrant.

       15.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       16.      The government will execute this warrant by serving the warrant on MediaLab,

Inc. Because the warrant will be served on MediaLab, Inc., who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.




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                                     ATTACHMENT A
                                  Property to Be Searched
       This warrant applies to information associated with Kik username “bgillie08” that is

stored at premises owned, maintained, controlled, or operated by MediaLab, Inc., a company

headquartered at 1237 7th St., Santa Monica, CA 90401.




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                                       ATTACHMENT B
                                 Particular Things to be Seized
I.         Information to be disclosed by MediaLab, Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of MediaLab, Inc., regardless of whether such information is located within

or outside of the United States, and including any messages, records, files, logs, or information

that have been deleted but are still available to MediaLab, Inc., or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), MediaLab, Inc is required to disclose the following

information to the government for the account listed in Attachment A from May 1, 2022 to

present:

     1. All subscriber/account information, including:

            a. Subscriber data, unrestricted by date, associated to the Kik account

            b. Current first and last name

            c. Email address

            d. Phone number

            e. Link to the most current profile picture

            f. Device related information

            g. Account creation date and Kik version

            h. Birthdate and email address used to register the account

            i. User location information

     2. IP addresses associated to the Kik account, including remote port information

     3. All chat logs associated to the Kik account

     4. All messages sent from the Kik account to any other Kik users




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   5. All images and videos associated to the Kik account (to include images taken using the

       Kik app’s camera, shared with the user’s friends, or in a group chat or individual chat),

       including the unknown usernames and IP address associated to the sender of the images

       and videos and metadata associated with such images or videos

   6. All other records of communications and messages made or received by the user

   7. All activity logs for the account and all other documents showing the user’s posts, chats,

       and other activities on Kik

   8. A complete list of the identified Kik account’s contact list and chat partners, deleted and

       undeleted

   9. A date-stamped log showing the usernames that the Kik account added and/or blocked

   10. All Kik chat groups in which the identified account is a member

   11. All user-typed messages, audio notes, and video notes to friends within the Kik app using

       the chat feature

   12. All user saved messages

   13. All records of Kik searches performed by the account

   14. All device-level location services maintained by Kik

   15. The types of service utilized by the user

   16. All abuse reports associated to the Kik account, including the unknown usernames

   17. All emails associated to the Kik account

       The Provider is hereby ordered to disclose the above information to the government

within 14 days of issuance of this warrant.




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II.         Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C.§ 2252A(a)(1) - transportation of child pornography,

and 18 U.S.C. § 2252A(a)(5)(B) - possession of child pornography involving the user of Kik

account bgillie08 since May 1, 2022, including, for each account or identifier listed on

Attachment A, information pertaining to the following matters:

       1.      Any information and or images/videos which visually depict child pornography or

child erotica; display or access information pertaining to a sexual interest in child pornography;

display or access information pertaining to sexual activity with children; or distribute, possess, or

receive child pornography, child erotica, or information pertaining to an interest in child

pornography or child erotica.

       2.      The identity of the person who created or used the user ID, including records that

help reveal the whereabouts of such person.

       3.      The identity of the person(s) who communicated with the user ID about matters

relating to sexual exploitation of children, the distribution or receipt of child pornography, or the

possession of child pornography, including records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the




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disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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